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UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff
ys. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant
AF AVIT SERVICE

I. Joseph Valentine, a Private Process Server, being duly sworn, depose and say:
That I am over the age of eighteen years and not a party to or otherwise interested in this action. .

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs'
Jury Demand in the above entitled case.

That on 10/27/2017 at 1:20 PM, I served Elliot Kline a/k/a Eli Mosely with the Summons, Civil Cover Sheet with Addendum,
Complaint, and Plaintiffs’ Jury Demand at 117 Mesa Drive, Reading, Pennsylvania 19608, by serving Bruce Kline, father of Elliot

Kline a/k/a Eli Mosely, a person of suitable age and discretion, who stated that he/she resides therein with Elliot Kline a/k/a Eli
Mosely,

Bruce Kline is described herein as:

Ciender: Male Race/Skin: White Age:55 Weight: 190 Height: 5'10" Hair: Brown Glasses: No

i do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

 

 

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Executed On J h Valentine

 

Client Ref Number:N/A
Job #: 1534508

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050 |
